                            Case 19-15988-mkn                        Doc 16            Entered 12/10/19 12:58:47                           Page 1 of 9

 Fill in this information to identify your case:

 Debtor 1                   Rex Henriott
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEVADA

 Case number            19-15988
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Aargon Collection Agen                                  Last 4 digits of account number         6758                                                           $356.00
              Nonpriority Creditor's Name
              8668 Spring Mountain Rd                                 When was the debt incurred?             Opened 9/01/14
              Las Vegas, NV 89117
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Collection Attorney Nv Energy




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 Debtor 1 Rex Henriott                                                                                   Case number (if known)         19-15988

 4.2      Allied Coll                                                Last 4 digits of account number       1101                                               $348.00
          Nonpriority Creditor's Name
          3080 S Durango Dr                                          When was the debt incurred?
          Las Vegas, NV 89117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Med1 02 Radiology Associates


 4.3      Amerassist Ar Solution                                     Last 4 digits of account number       5741                                               $320.00
          Nonpriority Creditor's Name
          445 Hutchinson Ave Ste 5                                   When was the debt incurred?           Opened 5/01/15
          Columbus, OH 43235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney 0238 - Henderson
              Yes                                                       Other. Specify   Modern Dentis


 4.4      Armando Joachin                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          C/o
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Rex Henriott                                                                                   Case number (if known)         19-15988

 4.5      Cach Llc                                                   Last 4 digits of account number       2318                                           $51,071.00
          Nonpriority Creditor's Name
          Pob 5980                                                   When was the debt incurred?
          Denver, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   12 Bank Of Internet


 4.6      Chrysler Capital                                           Last 4 digits of account number       1000                                               $321.00
          Nonpriority Creditor's Name
                                                                                                           Opened 8/01/14 Last Active
          Po Box 961275                                              When was the debt incurred?           11/30/14
          Fort Worth, TX 76161
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.7      DirecTV                                                    Last 4 digits of account number                                                          $206.00
          Nonpriority Creditor's Name
          PO Box 5014                                                When was the debt incurred?           05/16/2017
          Carol Stream, IL 60197-5014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   disputed Dirctv bill




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 Debtor 1 Rex Henriott                                                                                   Case number (if known)         19-15988

 4.8      Grant & Weber                                              Last 4 digits of account number       6650                                             $7,041.00
          Nonpriority Creditor's Name
          8880 W Sunset Rd # 275                                     When was the debt incurred?           Opened 1/01/13
          Las Vegas, NV 89148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney St. Rose Domin Hosp
              Yes                                                       Other. Specify   San Marti


 4.9      Grant & Weber                                              Last 4 digits of account number       6031                                             $3,473.00
          Nonpriority Creditor's Name
          8880 W Sunset Rd # 275                                     When was the debt incurred?           Opened 10/01/12
          Las Vegas, NV 89148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney St. Rose Dominican
              Yes                                                       Other. Specify   Hospital-D


 4.1
 0        Manshoorty ESMS, LLC                                       Last 4 digits of account number       205C                                          $200,000.00
          Nonpriority Creditor's Name
          8880 W. Sunset Road, Suite 275                             When was the debt incurred?           2015
          Garg Golden Law Firm
          Las Vegas, NV 89148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Property Lease




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 4.1
 1        Margaret Walker-Shaw                                       Last 4 digits of account number       N/A                                              $1,550.00
          Nonpriority Creditor's Name
          1260 Corista Dr.                                           When was the debt incurred?           Unknown
          Henderson, NV 89052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Rental Deposit from 2012 lease


 4.1
 2        NV Energy                                                  Last 4 digits of account number                                                          $356.00
          Nonpriority Creditor's Name
          P.O. Box 30150                                             When was the debt incurred?           09/18/2014
          Reno, NV 89520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 3        Plusfour Inc.                                              Last 4 digits of account number       7889                                               $786.00
          Nonpriority Creditor's Name
          Po Box 95846                                               When was the debt incurred?           Opened 7/01/12
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Muhammad Shafique
              Yes                                                       Other. Specify   Md




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 4.1
 4        Progressive Financial                                      Last 4 digits of account number       2608                                               $176.00
          Nonpriority Creditor's Name
          1919 W Fairmont Dr Ste 8                                   When was the debt incurred?           Opened 12/01/15
          Tempe, AZ 85282
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Cox Nevada-Las Vegas


 4.1      Real Property Management of Las
 5        Vegas                                                      Last 4 digits of account number       354C                                             Unknown
          Nonpriority Creditor's Name
          c/o McDonald Carano                                        When was the debt incurred?           2018
          2300 W. Sahara Ave.
          Suite 1200
          Las Vegas, NV 89102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Litigation


 4.1
 6        Resurgent Capital Services                                 Last 4 digits of account number                                                      $51,070.00
          Nonpriority Creditor's Name
          PO Box 1269                                                When was the debt incurred?           08/1/2013
          Greenville, SC 29602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business loan




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 4.1
 7        Scott Knight                                               Last 4 digits of account number       Henriott                                         $9,956.76
          Nonpriority Creditor's Name
          2850 W. Horizon Ridge Parkway                              When was the debt incurred?           06/1/2018
          Ste. 200
          Henderson, NV 89052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Hired Knight law to defend case against us.
                                                                                         He took on an additional case during time
              Yes                                                       Other. Specify   period


 4.1
 8        St Rose Domin                                              Last 4 digits of account number                                                        $3,919.00
          Nonpriority Creditor's Name
          102 E Lake Mead Pkwy                                       When was the debt incurred?
          Henderson, NV 89015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 9        St Rose Domin Hospital San Martin                          Last 4 digits of account number                                                        $7,955.00
          Nonpriority Creditor's Name
          8280 W Warm Springs Rd                                     When was the debt incurred?
          Las Vegas, NV 89113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   hospital stay. I forget when it was.




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 4.2
 0         US Dept of Education/GLE                                  Last 4 digits of account number                                                     $117,261.00
           Nonpriority Creditor's Name
           2401 International Lane                                   When was the debt incurred?           01/1/1997
           POB 7859
           Madison, WI 53704
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         student loans with interest
 4.2
 1         Usa Funds                                                 Last 4 digits of account number       5256                                           $60,808.00
           Nonpriority Creditor's Name
                                                                                                           Opened 8/21/15 Last Active
           Po Box 6180                                               When was the debt incurred?           11/30/15
           Indianapolis, IN 46206
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.2
 2         Usa Funds                                                 Last 4 digits of account number       5256                                           $42,695.00
           Nonpriority Creditor's Name
                                                                                                           Opened 8/21/15 Last Active
           Po Box 6180                                               When was the debt incurred?           11/30/15
           Indianapolis, IN 46206
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


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   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AARGON Agency Inc.                                            Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3025 W. Sahara                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Las Vegas, NV 89102
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cach LLC                                                      Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1269                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Greenville, SC 29602
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Grant & Weber Inc                                             Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5586 S. Fort Apache Rd.                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 110
 Las Vegas, NV 89148
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Grant & Weber Inc                                             Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5586 S. Fort Apache Rd.                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Las Vegas, NV 89155
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC System                                                     Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 64378                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.    Domestic support obligations                                                 6a.       $                           0.00
 Total
 claims
 from Part 1            6b.    Taxes and certain other debts you owe the government                         6b.       $                           0.00
                        6c.    Claims for death or personal injury while you were intoxicated               6c.       $                           0.00
                        6d.    Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00

                        6e.    Total Priority. Add lines 6a through 6d.                                     6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.    Student loans                                                                6f.       $                  220,764.00
 Total
 claims
 from Part 2            6g.    Obligations arising out of a separation agreement or divorce that
                               you did not report as priority claims                                        6g.       $                           0.00
                        6h.    Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                        6i.    Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                               here.                                                                                  $                  338,904.76

                        6j.    Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                  559,668.76




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